Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 1 of 64 Page ID
                                 #:16853




                                                                      Page 3
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 2 of 64 Page ID
                                 #:16854




                                                                      Page 4
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 3 of 64 Page ID
                                 #:16855




                                                                      Page 5
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 4 of 64 Page ID
                                 #:16856




                                                                      Page 6
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 5 of 64 Page ID
                                 #:16857




                                                                      Page 7
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 6 of 64 Page ID
                                 #:16858




                                                                      Page 8
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 7 of 64 Page ID
                                 #:16859




                                                                      Page 9
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 8 of 64 Page ID
                                 #:16860




                                                                     Page 10
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 9 of 64 Page ID
                                 #:16861




                                                                     Page 11
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 10 of 64 Page ID
                                  #:16862




                                                                      Page 12
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 11 of 64 Page ID
                                  #:16863




                                                                      Page 13
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 12 of 64 Page ID
                                  #:16864




                                                                      Page 14
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 13 of 64 Page ID
                                  #:16865




                                                                      Page 15
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 14 of 64 Page ID
                                  #:16866




                                                                      Page 16
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 15 of 64 Page ID
                                  #:16867




                                                                      Page 17
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 16 of 64 Page ID
                                  #:16868




                                                                      Page 18
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 17 of 64 Page ID
                                  #:16869




                                                                      Page 19
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 18 of 64 Page ID
                                  #:16870




                                                                      Page 20
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 19 of 64 Page ID
                                  #:16871




                                                                      Page 21
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 20 of 64 Page ID
                                  #:16872




                                                                      Page 22
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 21 of 64 Page ID
                                  #:16873




                                                                      Page 23
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 22 of 64 Page ID
                                  #:16874




                                                                      Page 24
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 23 of 64 Page ID
                                  #:16875




                                                                      Page 25
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 24 of 64 Page ID
                                  #:16876




                                                                      Page 26
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 25 of 64 Page ID
                                  #:16877




                                                                      Page 27
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 26 of 64 Page ID
                                  #:16878




                                                                      Page 28
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 27 of 64 Page ID
                                  #:16879




                                                                      Page 29
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 28 of 64 Page ID
                                  #:16880




                                                                      Page 30
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 29 of 64 Page ID
                                  #:16881




                                                                      Page 31
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 30 of 64 Page ID
                                  #:16882




                                                                      Page 32
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 31 of 64 Page ID
                                  #:16883




                                                                      Page 33
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 32 of 64 Page ID
                                  #:16884




                                                                      Page 34
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 33 of 64 Page ID
                                  #:16885




                                                                      Page 35
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 34 of 64 Page ID
                                  #:16886




                                                                      Page 36
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 35 of 64 Page ID
                                  #:16887




                                                                      Page 37
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 36 of 64 Page ID
                                  #:16888




                                                                      Page 38
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 37 of 64 Page ID
                                  #:16889




                                                                      Page 39
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 38 of 64 Page ID
                                  #:16890




                                                                      Page 40
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 39 of 64 Page ID
                                  #:16891




                                                                      Page 41
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 40 of 64 Page ID
                                  #:16892




                                                                      Page 42
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 41 of 64 Page ID
                                  #:16893




                                                                      Page 43
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 42 of 64 Page ID
                                  #:16894




                                                                      Page 44
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 43 of 64 Page ID
                                  #:16895




                                                                      Page 45
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 44 of 64 Page ID
                                  #:16896




                                                                      Page 46
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 45 of 64 Page ID
                                  #:16897




                                                                      Page 47
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 46 of 64 Page ID
                                  #:16898




                                                                      Page 48
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 47 of 64 Page ID
                                  #:16899




                                                                      Page 49
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 48 of 64 Page ID
                                  #:16900




                                                                      Page 50
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 49 of 64 Page ID
                                  #:16901




                                                                      Page 51
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 50 of 64 Page ID
                                  #:16902




                                                                      Page 52
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 51 of 64 Page ID
                                  #:16903




                                                                      Page 53
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 52 of 64 Page ID
                                  #:16904




                                                                      Page 54
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 53 of 64 Page ID
                                  #:16905




                                                                      Page 55
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 54 of 64 Page ID
                                  #:16906




                                                                      Page 56
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 55 of 64 Page ID
                                  #:16907




                                                                      Page 57
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 56 of 64 Page ID
                                  #:16908




                                                                      Page 58
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 57 of 64 Page ID
                                  #:16909




                                                                      Page 59
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 58 of 64 Page ID
                                  #:16910




                                                                      Page 60
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 59 of 64 Page ID
                                  #:16911




                                                                      Page 61
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 60 of 64 Page ID
                                  #:16912




                                                                      Page 62
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 61 of 64 Page ID
                                  #:16913




                                                                      Page 63
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 62 of 64 Page ID
                                  #:16914




                                                                      Page 64
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 63 of 64 Page ID
                                  #:16915




                                                                      Page 65
Case 2:14-cv-02762-JVS-JC Document 511-1 Filed 01/18/19 Page 64 of 64 Page ID
                                  #:16916




                                                                      Page 66
